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                                                     October 17, 2024
  Via PACER/ECF

  The Honorable Michael A. Shipp, U.S.D.J.
  The Honorable Rukhsanah L. Singh, U.S.M.J.
  United States District Court for the District of New Jersey
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street
  Trenton, New Jersey 08608

            Re:         In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices
                        and Product Liability Litig., Case No. 3:16-md-2738 (MAS)/(RLS)

  Dear Judge Shipp and Judge Singh:

           We represent Beasley Allen and Andy D. Birchfield, Jr., Esq. (together “Beasley Allen”)
  regarding the pending Motion to Remove Beasley Allen (“Motion”) from the Plaintiffs’ Steering
  Committee (“PSC”). ECF No. 33290. We are in receipt of Johnson & Johnson’s (“J&J”) status
  letter, see ECF No. 33378, and write to confirm that the Motion is now returnable November 18,
  2024 (rather than November 4, 2024) before Judge Shipp as stated in the October 15, 2024 11:39
  AM text order sent to all parties. We do not think it appropriate to (and therefore do not) respond
  to J&J’s unsolicited claims concerning how the Texas Bankruptcy Court’s stay and decisions
  impact the Motion.
            Thank you for your time and attention to this matter.
                                                                    Respectfully submitted,

                                                                    /s/ Jeffrey M. Pollock

                                                                    JEFFREY M. POLLOCK

  cc: All Counsel (via ECF)
